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   597035     597035 MARGY TEMPONERAS, MD              418 CENTER STREET              WHEELERSBURG           OH       45694    BT5598214   MIAMI LUKEN INC                           27,159.70        147,800
   506074     506074 NEW CHOICE PHARMACY               1900 23RD STREET               CUYAHOGA FALLS         OH      44223     BN8680399   CARDINAL HEALTH                           21,006.75         92,500
 52029290 52029290 NEXTRX LLC                          8990 DUKE BLVD                 MASON                  OH      45040     BA6872041   CARDINAL HEALTH                           18,542.10         78,600
 52061244 52061244 MEDIMART PHARMACY                   902 4TH STREET                 PORTSMOUTH             OH      45662     BP1945774   MIAMI LUKEN INC                           15,629.88         84,000
 52092000 52092000 THE DRUG STORE PHARMACY             2940 GROVEPORT RD              COLUMBUS               OH      43207     AT3154060   MIAMI LUKEN INC                           15,310.29         86,700
 52041730 52041730 EAST MAIN STREET PHARMACY           1336 EAST MAIN STREET          COLUMBUS               OH      43205     BE5902615   DBS TRADING INC MASTERS PHARMACEUTICALS   14,364.56         74,600
 52009026 52009026 FAMILY MEDICAL PHCY                 5770 KARL ROAD                 COLUMBUS               OH      43229     AF1958935   AMERISOURCE BERGEN HEALTH                 13,415.13         63,600
 52090682 52090682 FRANKLIN PHARMACY 1                 1732 YOUNGSTOWN RD.            WARREN                 OH      44484     AF2953657   MCKESSON DRUG CO                          12,015.12         57,800
 52092000 52092000 THE DRUG STORE PHARMACY             2940 GROVEPORT RD              COLUMBUS               OH      43207     AT3154060   KEYSOURCE MEDICAL INC                     11,442.96         57,600
 52092000 52092000 THE DRUG STORE PHARMACY             2940 GROVEPORT RD              COLUMBUS               OH      43207     AT3154060   DBS TRADING INC MASTERS PHARMACEUTICALS   10,786.76         53,200
 52022759 52022759 SHAFFER PHARMACY                    3900 SUNFOREST AVENUE          TOLEDO                 OH      43623     AS8550243   AMERISOURCE BERGEN HEALTH                   9,536.55        39,000
 52044912 52044912 GRIFFITHS PHARMACY INC              601 HANOVER STREET             MARTINS FERRY          OH      43935     BG0312962   CARDINAL HEALTH                             9,278.46        35,400
 52092521 52092521 MEDICINE SHOPPE 1018 LNCSTR         900 EAST MAIN STREET           LANCASTER              OH      43130     BC4959764   AMERISOURCE BERGEN HEALTH                   8,460.09        36,600
 52012955 52012955 KLEINS PHARMACY                     2015 STATE RD.                 CUYAHOGA FALLS         OH      44223     AK2946854   MCKESSON DRUG CO                            8,245.44        39,400
 52010068 52010068 RITE-AID #3195                      54 SOUTH STATE STREET          PAINESVILLE            OH      44077     AG2932590   MCKESSON DRUG CO                            8,216.53        40,800
 52041730 52041730 EAST MAIN STREET PHARMACY           1336 EAST MAIN STREET          COLUMBUS               OH      43205     BE5902615   MIAMI LUKEN INC                             8,192.88        47,400
   536154     536154 HARES PHARMACY II                 367 NORTH 7TH ST               HAMILTON               OH      45011     FH0006610   CARDINAL HEALTH                             8,190.33        36,700
 52038924 52038924 DISCOUNT DRUG MART 60               3032 NORTH RIDGE RD EAST       ASHTABULA              OH      44004     BD6329711   CARDINAL HEALTH                             7,806.89        32,900
 52051932 52051932 KROGER PHARMACY 14549               222 PIEDMONT AVE               CINCINNATI             OH      45219     BK4784256   CARDINAL HEALTH                             7,582.04        39,200
 52055208 52055208 LEWIS PHARMACY                      253 E MAIN ST                  JACKSON                OH      45640     BL8197926   MCKESSON DRUG CO                            7,575.60        35,900
 52076466 52076466 THE DRUG STORE CLINIC PHCY          2900 SOUTH HIGH ST             COLUMBUS               OH      43207     BT6389490   KEYSOURCE MEDICAL INC                       7,126.29        35,100
 52031145 52031145 BROWNS DRUG                         5106 SOUTHERN BLVD             YOUNGSTOWN             OH      44512     BB4635554   AMERISOURCE BERGEN HEALTH                   7,119.14        30,800
 52074650 52074650 MEDICINE SHOPPE 1249 ASHTABLA       4343 MAIN AVENUE               ASHTABULA              OH      44004     BT4728210   CARDINAL HEALTH                             7,075.72        28,100
 52061401 52061401 OVERHOLTS PHARMACY                  4619 MAHONING AVE              WARREN                 OH      44483     BP2611487   CARDINAL HEALTH                             7,017.06        27,200
 52073072 52073072 SMITH RX                            741 SECOND ST                  PORTSMOUTH             OH      45662     BS8765488   MCKESSON DRUG CO                            6,669.66        31,800
 52039089 52039089 DISCOUNT DRUG MART 61               107 SOUTH CHESTNUTT STREET     JEFFERSON              OH      44047     BD7044388   CARDINAL HEALTH                             6,635.97        27,400
 52092443 52092443 CLINIC PHARMACY                     1000 E BROAD STREET            COLUMBUS               OH      43205     BC0572328   AMERISOURCE BERGEN HEALTH                   6,581.77        27,400
 52076466 52076466 THE DRUG STORE CLINIC PHCY          2900 SOUTH HIGH ST             COLUMBUS               OH      43207     BT6389490   H D SMITH WHOLESALE DRUG CO                 6,303.12        30,600
   524969     524969 JGL PHARMACY                      DBA PEOPLES PHARMACY           COLUMBUS               OH      43207     BJ9863906   H D SMITH WHOLESALE DRUG CO                 6,170.24        35,000
 52010055 52010055 RITE-AID #3032                      2149 LAKE AVENUE               ASHTABULA              OH      44004     AG2911560   MCKESSON DRUG CO                            5,979.20        28,800
 52020669 52020669 RITE-AID #0450                      138 NORTH 5TH AVENUE           STEUBENVILLE           OH      43952     AR8503915   MCKESSON DRUG CO                            5,884.74        28,200
 52022759 52022759 SHAFFER PHARMACY                    3900 SUNFOREST AVENUE          TOLEDO                 OH      43623     AS8550243   PRESCRIPTION SUPPLY INC                     5,844.32        29,500
   606709     606709 SOUTHGATE PHARMACY                2920 SOUTH HIGH STREET         COLUMBUS               OH      43207     FS1253765   H D SMITH WHOLESALE DRUG CO                 5,621.40        36,000
 52023047 52023047 KROGER PHARMACY 14399               400 N ERIE BLVD.               HAMILTON               OH      45011     AT1154575   CARDINAL HEALTH                             5,590.44        28,800
 52066449 52066449 RITE-AID #3969                      1115 WEST PROSPECT ROAD        ASHTABULA              OH      44004     BR4949357   MCKESSON DRUG CO                            5,574.88        27,300
   524969     524969 JGL PHARMACY                      DBA PEOPLES PHARMACY           COLUMBUS               OH      43207     BJ9863906   MIAMI LUKEN INC                             5,571.05        29,800
 52061401 52061401 OVERHOLTS PHARMACY                  4619 MAHONING AVE              WARREN                 OH      44483     BP2611487   KEYSOURCE MEDICAL INC                       5,302.95        25,900
 52092686 52092686 FRUTH PHARMACY 16                   101 JAMES RD.                  WAVERLY                OH      45690     BF3545704   DBS TRADING INC MASTERS PHARMACEUTICALS     5,268.16        27,000
   524969     524969 JGL PHARMACY                      DBA PEOPLES PHARMACY           COLUMBUS               OH      43207     BJ9863906   DBS TRADING INC MASTERS PHARMACEUTICALS     5,193.36        26,400
 52063406 52063406 SCRIPTWISE PROGRESSIVE MEDICAL      543 MCCORKLE BLVD              WESTERVILLE            OH      43082     BP7232034   CARDINAL HEALTH                             5,178.89        21,200
 52065496 52065496 RIVERSIDE MED BUILDING PHARM.       3545 OLENTANGY RIVER RD        COLUMBUS               OH      43214     BR3463368   AMERISOURCE BERGEN HEALTH                   5,176.08        21,600
 52057333 52057333 DAVES PHARMACY                      411 WEST 5TH STREET            MARYSVILLE             OH      43040     BM5437226   CARDINAL HEALTH                             4,794.95        19,500
 52076466 52076466 THE DRUG STORE CLINIC PHCY          2900 SOUTH HIGH ST             COLUMBUS               OH      43207     BT6389490   DBS TRADING INC MASTERS PHARMACEUTICALS     4,746.00        24,000
 52026392 52026392 YOST PHARMACY                       120 W. MAIN ST.                MASON                  OH      45040     AY2818839   MCKESSON DRUG CO                            4,660.71        22,200
   515435     515435 BEAVERCREEK HEALTH PHARMACY       2510 COMMONS BLVD              BEAVERCREEK            OH      45431     BB9589257   CARDINAL HEALTH                             4,590.56        20,400
 52073632 52073632 RITE-AID #2310                      210 MAIN STREET                TOLEDO                 OH      43605     BT1790799   MCKESSON DRUG CO                            4,589.44        24,300
 52053447 52053447 KROGER PHARMACY 16623               5800 W. BROAD STREET           GALLOWAY               OH      43119     BK7598379   CARDINAL HEALTH                             4,565.04        23,500


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   597035        597035 MARGY TEMPONERAS, MD            418 CENTER STREET             WHEELERSBURG               OH       45694         BT5598214   MIAMI LUKEN INC                            66,449.70      214,400
 52090682    52090682 FRANKLIN PHARMACY 1               1732 YOUNGSTOWN RD.           WARREN                     OH       44484         AF2953657   MCKESSON DRUG CO                           52,735.70      147,000
 52061244    52061244 MEDIMART PHARMACY                 902 4TH STREET                PORTSMOUTH                 OH       45662         BP1945774   MIAMI LUKEN INC                            44,234.46      140,300
 52041730    52041730 EAST MAIN STREET PHARMACY         1336 EAST MAIN STREET         COLUMBUS                   OH       43205         BE5902615   DBS TRADING INC MASTERS PHARMACEUTICALS    39,722.18      128,200
   536154        536154 HARES PHARMACY II               367 NORTH 7TH ST              HAMILTON                   OH       45011         FH0006610   CARDINAL HEALTH                            37,890.60      105,600
 52061401    52061401 OVERHOLTS PHARMACY                4619 MAHONING AVE             WARREN                     OH       44483         BP2611487   KEYSOURCE MEDICAL INC                      37,443.50      103,700
 52092000    52092000 THE DRUG STORE PHARMACY           2940 GROVEPORT RD             COLUMBUS                   OH       43207         AT3154060   KEYSOURCE MEDICAL INC                      36,840.36      117,000
 52020802    52020802 RITE-AID #0193                    147 WEST LIBERTY STREET       HUBBARD                    OH       44425         AR9115800   MCKESSON DRUG CO                           32,611.73       92,200
 52092000    52092000 THE DRUG STORE PHARMACY           2940 GROVEPORT RD             COLUMBUS                   OH       43207         AT3154060   MIAMI LUKEN INC                            32,211.96      121,800
 52044912    52044912 GRIFFITHS PHARMACY INC            601 HANOVER STREET            MARTINS FERRY              OH       43935         BG0312962   CARDINAL HEALTH                            24,400.89       65,300
 52041730    52041730 EAST MAIN STREET PHARMACY         1336 EAST MAIN STREET         COLUMBUS                   OH       43205         BE5902615   MIAMI LUKEN INC                            23,400.60       88,500
 52009026    52009026 FAMILY MEDICAL PHCY               5770 KARL ROAD                COLUMBUS                   OH       43229         AF1958935   AMERISOURCE BERGEN HEALTH                  23,340.80       77,600
 52061401    52061401 OVERHOLTS PHARMACY                4619 MAHONING AVE             WARREN                     OH       44483         BP2611487   CARDINAL HEALTH                            20,162.07       55,200
   506074        506074 NEW CHOICE PHARMACY             1900 23RD STREET              CUYAHOGA FALLS             OH       44223         BN8680399   CARDINAL HEALTH                            20,005.65       60,900
 52029290    52029290 NEXTRX LLC                        8990 DUKE BLVD                MASON                      OH       45040         BA6872041   CARDINAL HEALTH                            19,880.49       55,500
 52010068    52010068 RITE-AID #3195                    54 SOUTH STATE STREET         PAINESVILLE                OH       44077         AG2932590   MCKESSON DRUG CO                           19,481.34       57,000
 52055333    52055333 LINCOLN KNOLLS PHARMACY           819 MCCARTNEY ROAD            CAMPBELL                   OH       44405         BL8718605   VALUE DRUG CO INC                          19,394.04       69,000
 52092000    52092000 THE DRUG STORE PHARMACY           2940 GROVEPORT RD             COLUMBUS                   OH       43207         AT3154060   DBS TRADING INC MASTERS PHARMACEUTICALS    18,637.44       56,600
 52061401    52061401 OVERHOLTS PHARMACY                4619 MAHONING AVE             WARREN                     OH       44483         BP2611487   VALUE DRUG CO INC                          18,460.24       65,600
 52031145    52031145 BROWNS DRUG                       5106 SOUTHERN BLVD            YOUNGSTOWN                 OH       44512         BB4635554   AMERISOURCE BERGEN HEALTH                  18,415.60       57,700
 52004776    52004776 ARNAS PHARMACY                    425 MARKET STREET             STEUBENVILLE               OH       43952         AA8197558   CARDINAL HEALTH                            17,298.54       48,600
 52049324    52049324 BELPARK PHARMACY                  602 PARMALEE AVE              YOUNGSTOWN                 OH       44510         BI3910177   CARDINAL HEALTH                            15,892.61       43,700
 52055208    52055208 LEWIS PHARMACY                    253 E MAIN ST                 JACKSON                    OH       45640         BL8197926   MCKESSON DRUG CO                           15,577.74       43,100
 52020669    52020669 RITE-AID #0450                    138 NORTH 5TH AVENUE          STEUBENVILLE               OH       43952         AR8503915   MCKESSON DRUG CO                           14,711.46       41,100
 52026392    52026392 YOST PHARMACY                     120 W. MAIN ST.               MASON                      OH       45040         AY2818839   MCKESSON DRUG CO                           14,544.76       40,300
   524969        524969 JGL PHARMACY                    DBA PEOPLES PHARMACY          COLUMBUS                   OH       43207         BJ9863906   H D SMITH WHOLESALE DRUG CO                12,637.84       44,400
 52092521    52092521 MEDICINE SHOPPE 1018 LNCSTR       900 EAST MAIN STREET          LANCASTER                  OH       43130         BC4959764   AMERISOURCE BERGEN HEALTH                  12,336.80       36,800
 52092443    52092443 CLINIC PHARMACY                   1000 E BROAD STREET           COLUMBUS                   OH       43205         BC0572328   AMERISOURCE BERGEN HEALTH                  11,566.80       33,900
 52012955    52012955 KLEINS PHARMACY                   2015 STATE RD.                CUYAHOGA FALLS             OH       44223         AK2946854   MCKESSON DRUG CO                           11,475.11       31,900
 52076466    52076466 THE DRUG STORE CLINIC PHCY        2900 SOUTH HIGH ST            COLUMBUS                   OH       43207         BT6389490   KEYSOURCE MEDICAL INC                      11,442.72       34,800
   515435        515435 BEAVERCREEK HEALTH PHARMACY     2510 COMMONS BLVD             BEAVERCREEK                OH       45431         BB9589257   CARDINAL HEALTH                            11,404.74       34,600
 52055333    52055333 LINCOLN KNOLLS PHARMACY           819 MCCARTNEY ROAD            CAMPBELL                   OH       44405         BL8718605   DBS TRADING INC MASTERS PHARMACEUTICALS    11,210.16       32,400
   524969        524969 JGL PHARMACY                    DBA PEOPLES PHARMACY          COLUMBUS                   OH       43207         BJ9863906   MIAMI LUKEN INC                            11,187.96       38,400
   602773        602773 COLER DRUG                      DBA SHRIVERS PHARMACY 4       NELSONVILLE                OH       45764         FC1222974   MCKESSON DRUG CO                           11,174.73       31,600
   606709        606709 SOUTHGATE PHARMACY              2920 SOUTH HIGH STREET        COLUMBUS                   OH       43207         FS1253765   H D SMITH WHOLESALE DRUG CO                10,949.26       44,400
 52073072    52073072 SMITH RX                          741 SECOND ST                 PORTSMOUTH                 OH       45662         BS8765488   MCKESSON DRUG CO                           10,836.70       29,600
 52050403    52050403 KROGER PHARMACY 14944             5080 DELHI PIKE               CINCINNATI                 OH       45238         BK0930520   CARDINAL HEALTH                            10,491.40       35,100
 52090100    52090100 ALLENS MEDICAL PHCY INC           215 EASTERN AVE               CHILLICOTHE                OH       45601         AA2499843   AMERISOURCE BERGEN HEALTH                  10,402.00       30,100
 52067556    52067556 RITE-AID #3016                    2840 YOUNGSTOWN SE            WARREN                     OH       44484         BR6483503   MCKESSON DRUG CO                           10,352.07       29,400
   597625        597625 MATSTE INC                      DBA THE HOMETOWN PHARMACY     BROOKFIELD                 OH       44403         FM1071529   RDC                                        10,290.98       33,500
 52060820    52060820 OAKLAND PARK PHARMACY             1486 OAKLAND PARK AVE.        COLUMBUS                   OH       43224         BO7980774   H D SMITH WHOLESALE DRUG CO                 9,755.98       31,300
 52053269    52053269 KROGER PHARMACY 16557             1060 ASHLAND ROAD             MANSFIELD                  OH       44905         BK6997855   CARDINAL HEALTH                             9,426.65       31,400
 52082481    52082481 WOODMAN PHARMACY                  1010 WOODMAN DRIVE            DAYTON                     OH       45432         BW5009178   KEYSOURCE MEDICAL INC                       9,356.16       34,400
   539936        539936 APOTHECARY SHOP OF COLUMBUS     262 NEIL AVENUE               COLUMBUS                   OH       43215         FA0111132   AMERISOURCE BERGEN HEALTH                   9,301.60       26,800
 52077143    52077143 HOMETOWN PHARMACY                 3623 S MERIDIAN RD            YOUNGSTOWN                 OH       44511         BT7268065   H D SMITH WHOLESALE DRUG CO                 9,028.80       27,000
 52054185    52054185 LONSINGER PHARMACY                10 E. MAIN STREET             DANVILLE                   OH       43014         BL2466717   MCKESSON DRUG CO                            8,794.46       24,200

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